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    Tw     Administrative Meetings and Reports                  13-02(01)                            PCN            Jun 03,2018          ©

    Ww     Monthly Statistical Report                           13-02A                               Attachment     Jun 03, 2018

    w      Monthly Health Department Meeting - SAMPLE         ~~ 13-02AA                             Appendix       Jun 03,2018

    PA     Infection Control Meeting Minutes - SAMPLE           13-02BB                              Appendix       Jun 03, 2018

    ve     Administrative Quarterly Meeting - SAMPLE            13-02CC                              Appendix       Jun 03, 2018

    ww     Quick Reference Meeting and Report Guidelines         13-02DD                             Appendix       Jun 03, 2018

    pe     Continuous Quality Improvement (CQI) Quarterly       13-02EE                              Appendix       Jun 03, 2018
             eeting

    -         13-03 Advance Directives, Living Will-Durable Power of Attorney for Health Care   - 2 Documents

           Advance Directives, Living Will-Durable Power of
    w      Attorney for Health Care                             jas                                  Relicy         Julliz, 2020         @

    pA     Advance Directives                                   13-03                                Policy         Jun 03, 2018        ]

    -         13-05 Chemically Dependent Inmates-Residents and Detoxification     - 8 Documents


    STChemically orDependent       Inmates-Residents and
                                                                13-05                                Policy:        Apr 06, 2020        (/]
           Clinical Institute Withdrawal Assessment (CIWA)
    PA     AR Score Sheet of Alcohol and Benzodiazepine         13-05A                               Attachment     Apr 06, 2020
           Withdrawal

           Suspected Fentanyl Exposure Incident Action            :                                             .
    hid    Plan (SAMPLE)                                        13-05AA                              Appendix       Apr 06, 2020

           Clinical Opiate Withdrawal Score Sheet (COWS)          ]
    ww     Opiate Withdrawal                                    13-058                               Attachment     Apr 06, 2020

           Clinical Institute Withdrawal Assessment (CIWA)
    ww     Protocol - Withdrawal of Alcohol and                 13-05BB                              Appendix       Apr 06, 2020
           Benzodiazepine (SAMPLE)

           Clinical Opiate Withdrawal Scale (COWS)
    vy     Protocol - Withdrawal Protocol for Opiate            13-05CC                              Appendix       Apr 06, 2020        A
           (SAMPLE)

    pA                                                          13-05DD                              Appendix       Apr 06, 2020


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           Opiate and Opioid Safety and Response
           Information for Staff Recall Delivery

    pid    Opioid Exposure Response Plan (SAMPLE)                13-05EE                            Appendix     Apr 06, 2020

    -—        13-09 Compulsory (Involuntary) Medication of Mentally Ill fnmates-Detainees   - 1 Document

    pe     Compulsory    (Involuntary) Medication of Mentally    13-09                              Policy       Apr 27, 2020


    -         13-13 Dental Care   - 1 Document

    ww     Dental Care                                           13-13                              Policy       Apr 29, 2020         ]

    -—        13-20 Dental Prostheses     - 1 Document

    hid    Dental Prostheses                                     13-20                              Policy       Mar 25, 2020         ©

    -         13-21 Endodontics    - 1 Document

    Ad     Endodontics                                           13-21                              Policy       Sep 17, 2020        @

    a=        13-23 Management of Employee Health and Civilian lliness-Injury - 1 Document

    pe     oe             of Employee Health and Civilian        13-23                              Policy       Jun 03, 2018        ®


    -—        13-24 Dental Infection Control     - 2 Documents

    Ww     Dental Infection Control                              13-24                              Policy       Jun 03, 2018        1]

    pg     Autoclave-Biological Indicator Test Log               13-24A                             Attachment   Jun 03, 2018

    -—        13-31 Diagnostic Services    - 2 Documents

    ae     Diagnostic Services                                   13-31                              Policy       jun 03, 2018        +]
    ww     Notification of Diagnostic Test Results               13-31A                             Attachment   Jun 03, 2018
                                                                                                                                     A
    -         13-32 Dress Code    - 1 Document




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    Ww     Dress Code                                             13-32                                  Policy       Jun 03, 2018         &


    -—        13-34 Medical Emergency Response          - 8 Documents

    A      Medical Emergency Response                             13-34                                  Policy       Apr 29, 2020         /]

    A      Medical Emergency Response                             13-34                                  Policy       Jun 03, 2018         ©

    i      Facility Emergency Flow Sheet                          13-34A1                                Attachment   Jun 03, 2018

    pd     Facility Emergency Flow Sheet                          13-34A1                                Attachment   Apr 29, 2020

    pA     Facility Emergency Anatomical                          13-34A2                                Attachment   Jun 03,2018

    pA     Facility Emergency Anatomical                          13-34A2                                Attachment   Apr 29, 2020

    pd     Emergency Response Kit-Inventory                       13-34B                                 Attachment   Jun 03, 2018

    A      Emergency Record                                       13-34C                                 Attachment   Jun 03,2018

    -         13-36 Ethical Requests    - 1 Document

    ik     Ethical Requests                                       13-36                                  Policy       Jun 03, 2018        ]


    _—        13-39 Forensic Procedures-Executions        - 1 Document

    ww     Forensic Procedures-Executions                         13-39                                  Policy       Jul 15, 2020        /]

    -—        13-40 Health Appraisals    - 1 Document

    hd     Health Appraisals                                      13-40                                  Policy       Apr 29, 2020        /]

    -—        13-41 Hazardous Materials and Waste Management              - 1 Document

    pi     Hazardous Materials and Waste Management               13-41                                  Policy       Jun 03, 2018        /]

    -         13-42 Special Management-Restrictive Housing Access to Health Care         - 3 Documents

    ve     Special Management-Restrictive Housing Access          3 45                                   Policy       Apr 30, 2020       8


    w                                                             13-42A                                 Attachment   Apr 30, 2020


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           Pre-Special Management-Restrictive Housing
           Health Evaluation

    oe     De                     Management-Restrictive         13-428          Attachment   Apr 30, 2020


    -         13-46 Hunger Strikes - 5 Documents

    ae     Hunger Strikes                                        13-46           Policy       Jun 03, 2018         ]

    %      Hunger Strikes                                        13-46(01)       PCN          Jun 03, 2018         /]

    pe     LIP Orders for Hunger Strike                          13-46A          Attachment   Jun 03, 2018

    pd     Initial Hunger Strike Check Sheet                     13-46B          Attachment   Jun 03, 2018

    ik     Daily Hunger Strike Check Sheet                       13-46C          Attachment   Jun 03, 2018

    —         13-50 Initial Intake Screening   - 1 Document

    i      Initial Intake Screening                              13-50           Policy       May 06, 2020


    -         13-52 Continuous Quality Improvement         - 4 Documents

    ww     Continuous Quality Improvement                        13-52           1-1H         Nov 08, 2018

    Pd     Continuous Quality Improvement                        13-52           Policy       May 05, 2020         ]

    oe     Brae             Calendar and Quality Monitor         13-52A-1        Attachment   May 05, 2020


    &      Corrective Action Plan (CAP) Process - Health         13-52CC         Appendix     May 05, 2020



    -         13-53 Inventory Management       - 1 Document

    Pe      Inventory Management                                 13-53           Policy       Sep 17, 2020         @

    =         13-55 Job Descriptions and Work Assignments        - 2 Documents

    pA     Job Descriptions and Work Assignments                 13-55           Policy       Jun 03, 2018        °




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    we     FSC Health Services Job Descriptions Annual        13-55A                                  Attachment   Jun 03, 2018
           Review

    -—        13-56 Credentialing, Privileging, Licensure, and Continuing Education   - 9 Documents


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    i      Credentialing Application                          13-56A                                  Attachment   Aug 31,2018

    ww     Hiring-Credentialing-Privileging Process           13-56AA                                 Appendix     Aug 31, 2018

    pd     Clinical Privileging Request                       13-56B                                  Attachment   Aug 31,2018

    hs     Student Documentation in the Medical Record        13-56BB                                 Appendix     Jul 30, 2020

    pig    Practitioner Applicant Interview                   13-56C                                  Attachment   Aug 31, 2018

    pg     Dental Provider Privileging Request                13-56D                                  Attachment   Aug 31,2018

    -—        13-57 Medical Disaster Plan     - 1 Document

    w      Medical Disaster Plan                              13-57                                   Policy       May 05, 2020

    -         13-58 Medical Records - 1 Document

    ie     Medical Records                                    13-58                                   Policy       May 05, 2020        ib

    -—        13-59 Medical Research      - 2 Documents

    AS     Medical Research                                   13-59                                   Policy       May 19, 2020        /]

    7      Medical Research                                   13-59                                   Policy       Jun 03, 2018        /]

    "=n       13-61 Mental Health Services     - 1 Document                                                                            A

    ww     Mental Health Services                             13-61                                   Policy       Mar 31, 2020        &



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              13-66 Nursing Orientation, Training, and Clinical Performance Program   - 16 Documents

           Nursing Orientation, Training, and Clinical            }                                    ;                             1]
                                                                13-66                              Policy       Apr 12,2019
    w      Performance Program
           Nursing Orientation, Training, and Clinical            ]                                    .                             Lv]
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    w      Performance Program
    pA     Nursing Services Orientation Program                 13-66A                             Attachment   Apr 12,2019

           Nursing Services Orientation Program                   }
    ig     InStrcions                                           13-66A1                            Attachment   Jun 03, 2018


    ww     Nursing Orientation Process Checklist                13-66A2                            Attachment   Apr 12, 2019

    Ae     HSA Orientation Process Checklist                    13-66A3                            Attachment   Apr 12,2019

    vy     Required Skills Checklist-Initial                    13-66A4                            Attachment   Apr 12,2019

    ww     Agency Nursing Services Orientation Program          13-66A5                            Attachment   Jun 03, 2018

    Ww     Touchworks Core Competency Checklist                 13-66A6                            Attachment   Apr 12,2019

    PA     Nursing Skills Checklist-Annual Review               13-66A7                            Attachment   Apr 12,2019

    PA     Online CEU Certificate Process                       13-66AA                            Appendix     Jun 03, 2018

    o      Employee Performance Review - Peer Review -          13-668                             Attachment   Apr 12,2019
             ursing
    pik    Online Competency Training Program                   13-66BB                            Appendix     Jun 03, 2018

    ww     Contractor Training and Policy Review List           13-66C                             Attachment   Apr 12,2019

    ww     Contractor Training and Policy Review List -
           Medical Supplement                                   13-66D                             Attachment   Apr 12,2019

    re     Staff Meeting Attendance and Completion              13-66E                             Attachment   Aug 17, 2020
           Tracking

    -         13-69 Personal Restraints and Seclusion     - 1 Document

    we     Personal Restraints and Seclusion                    13-69                              Policy       Jun 03, 2020        A


    -—        13-70 Pharmaceuticals - 2 Documents



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    Yr     Pharmaceuticals                                      13-70                 Policy       May 05, 2020         @»

    Ad     Pharmaceuticals                                      13-70                 1-1H         Nov 01,2018          0

    =         13-71 Physician Orders and Patient Care Protocols       - 2 Documents

    vr     Physician Orders and Patient Care Protocols          13-71                 Policy       Apr 17,2020         1]


    vr     HL Er                                Runny Nose,     13.7129               Attachment   Apr 17, 2020

    -—        13-74 Privacy of Protected Health Information     - 1 Document

    Ad     Privacy of Protected Health Information              13-74                 Policy       Aug 12, 2020         0

    -—        13-75 Prostheses and Orthoses      - 1 Document

    7      Prostheses and Orthoses                              13-75                 Policy       Aug 19, 2020         ©


    =         13-78 Security within the Department     - 1 Document

    Pe     Security Within the Department                       13-78                 Policy       Jun 03, 2018        1]

    -—        13-79 Sexual Assault Response     - 3 Documents

    pid    Sexual Assault Response                              13-79                 Policy       Jul 14, 2020         ©

    vy     Rape-Sexual Assault Protocol                         13-79A                Attachment   Jul 14, 2020

    ww     Flowchart for SANE-SAFE Referral                     13-79AA               Appendix     Jul 14, 2020

    —         13-80 Sick Call - 1 Document

    fv     Sick Call                                            13-80                 Policy       Mar 24, 2020        oO

    -—        13-82 Special Needs Treatment Plans - 1 Document

    Pig    Special Needs Treatment Plans                        13-82                 Policy       Mar 24, 2020        8

              73-84 Suicide Management       - T Document




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    w      Suicide Management                                  13-84                                Policy          Aug 12, 2020         0


    -—        13-85 Therapeutic Diets - 1 Document

    Ty     Therapeutic Diets                                   13-85                                1-1H            Nov 06, 2018         ©

    -—        13-86 Transfer and Community Release      - 1 Document

    PA     Transfer and Community Release                      13-86                                Policy          May 06, 2020         &

    -—        Agency   - 86 Documents

    ww     Health Services Administration                      113-01                               Agency Policy   Feb 14, 2020         ]

    pid    Health Services Administration                      113-01                               Agency Policy   Sep 06, 2019         /]

    w      Health Care Facilities, Equipment, and Supplies     113-02                               Agency Policy   Jul 14, 2019         ]

              -          .     .                               113-03 Clinical Services Disaster               3
    PA     Clinical Services Disaster Procedures Plan          Procedures Plan                      Agency Policy   Apr 11,2019         1]

           113-04 Medical Requirements for the Release-                                                        .
    Te     a                                                   113-04                               Agency Policy   Jun 01, 2018         /]

    ve     Medical Requirements for the Release/Transfer       113-04 PCN 19-42                     Agency Policy   Jun 14, 2019         ©
           of Inmates

    ww     Deaths and Autopsies                                113-05                               Agency Policy   Mar 02, 2020        1]

    PA     Prosthetics and Durable Medical Equipment           113-08                               Agency Policy   Feb 09, 2018        1]

           Clinical Services Continuous Quality                    ]                                           )                        ]
    Ww     Improvement                                         113-09                               Agency Policy   Apr 10, 2020

           Clinical Services Continuous Quality
    “Improvement
                                                                   !
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                                                                                                    SPs             Mar 08, 2019        &
           Clinical Services Continuous Quality               113-09 Clinical Services Continuous              :
    w      Improvement                                        Quality Improvement                   Agency Policy   Nov 15, 2016        bh

           Clinical Services Continuous Quality                    }         .                                 .
    Ae     ARN                                                 113-09 PCN 20-17                     Agency Policy   Jul 02, 2020        ]



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    pie    Credentials of Clinical Personnel                  113-10 Credentials of Clinical         Agency Policy      Apr
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                                                              Personnel

    7      Clinical and Nursing Protocols                     113-11                                 Agency Policy      Feb 14, 2020




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    PAY    Clinical and Nursing Protocols

    PAS    Specialty Consultant Services                      113-12 PCN 20-15                       Agency Policy      Mar 30, 2020


    PA     Specialty Consultant Services                      113-12 Specialty Consultant Services   Agency Policy      Apr 11,2019

    ww     Inmate Workers in Health Care                      113-14                                 Agency Policy      Aug 15, 2019

    pA     Inmate Co-Payment for Health Services              113-15                                 Agency Policy. 1   Jan 31, 2020


           Initial Health Screening and Physical                                                     Agency Policy
                                                              113-20                                                    Mar 27, 2020




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    A      Examinations

           Initial Health Screening and Physical                                                     Agency Policy      Mar 01, 2019
                                                              113-20
    w      Examinations




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    Phe    113-21   Health Classification                     113-21 Health Classification           Agency Policy      Mar 01, 2018

    ik     Health Orientation                                 113-22                                 Agency Policy      Aug 10, 2018

    ww     Standards for Clinical Case Management             113-23 PCN 20-6                        PCN                Mar 17, 2020

                                                              113-24 Medical Clearance of
           Medical Clearance of Inmates Assigned to Jobs in                                          Agency Policy      May 01, 2019
                                                              Inmates Assigned to Jobs in Food




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    A      Food Service                                       Service

    pie    Access to Health Care                              113-30                                 Agency Policy      Aug 10, 2018




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    ik     Access to Health Care                              113-30-APS                                                Jun 03, 2018
                                                                                                     Supplement

    pid    Sick Call/Assessment of Health Complaints          113-31                                 Agency Policy      Feb 14, 2020




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    pe     Sick Call/Assessment of Health Complaints          113-31                                 Agency Policy      Apr 28, 2017

    wr     Levels of Care                                     113-32                                 Agency Policy      Mar 27, 2020

    PA     Levels of Care                                     113-32                                 Agency Policy      Feb 01,2018




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           Telehealth                                    113-33                            Agency Policy       Feb 14, 2020


           Telehealth                                    113-33                            Agency Policy       Mar 01, 2017

           Extended Clinical Services                    113-34                            Agency Policy       Mar 24, 2017
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           Extended Clinical Services                    113-34                            Agency Policy       Feb 14, 2020
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           113.35 Therapeutic Diets                      113-35                            Agency Policy       Sep 13, 2017
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           Hunger Strike                                 113-36                            Agency Attachment   Nov 01, 2016

           Hunger Strike                                 113-36                            Agency Policy       Feb 14, 2020
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           Hunger Strike                                 113-36A                           Agency Attachment   Nov 01, 2016

           Gender Dysphoria, Transgender, Transsexual,
           Intersex, and Gender Non-Conforming           113-37                            Agency Policy       Mar 01, 2019
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           Conditions

           Health Education                              113-40                            Agency Policy       Mar 30, 2020
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           Health Education                              113-40                            Agency Policy       Apr 01,2017

           Communicable Diseases                         113-42                            Agency Policy       Feb 14, 2020
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           Communicable Diseases                         113-42                            Agency Policy       Apr 20, 2018

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           Communicable Diseases                         113-42 - APS                                          Sep 16, 2016




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           Immunizations: Inmate Population              113-43                            Agency Policy       Jul 14,2019
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           Tuberculosis (TB) Control                     113-44                            Agency Policy       Sep 13, 2017

           Tuberculosis (TB) Control                     113-44-TNCombined-40857           Agency Policy       Sep 13, 2017
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           HIV-AIDS-Education, Prevention, and Case      113-45 HIV-AIDS-Education,
                                                                                           Agency Policy       Apr 11,2019
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           Mangement                                     Prevention, and Case Management

           Inmate Peer Education Program                 113-46                            Agency Policy       Jul 14, 2019
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           Health Records                                113-50                            Agency Policy       Mar 02, 2020
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           Health Records                                  113-50                      Agency Policy      May 15, 2018




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   4       113-51 Consent/Refusal of Treatment             113-51                      Agency Policy      Jun 01, 2019

           Release of Protected Health Information         113-52                      Agency Policy      Mar 02, 2020
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           Release of Protected Health Information         113-52                      Agency Policy      Mar 31, 2016
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           Accident/Injury Reporting                       113-53                      Ready to Publish   Jan 31, 2020

           Clinical Services Statistics Collection and                                                    Feb 14, 2020
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           Reporting

           Clinical Services Statistics Collection and




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           Reporting
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           Dental Services Administration                  113-60                      Agency Policy      Jut01, 2019




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           Dental Specialties                              113-62                      Agency Policy      Dec 14, 2018

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           Management of Pharmaceuticals                   113-70

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           Management of Pharmaceuticals                   113-70 APS                                     Aug 31, 2018




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           Administration/Distribution of Medication       113-71                      Agency Policy      Sep 13,2017
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           Administration/Distribution of Medication       113-71                      Agency Policy      Sep 17, 2020

           Management of Hazardous Medical Devices         113-72                      Agency Policy      Apr 01,2018

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           Management of Hazardous Medical Devices         113-72 - APS                                   Aug 31, 2018




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           Laboratory Services                             113-75                      Agency Policy      Jun 14, 2019




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           Radiology Services                              113-78 Radiology Services   Agency Policy      Apr 11, 2019

           Behavioral Health Services Administration and
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                                                           113-80                      Agency Policy      Oct 23, 2017
           Delivery




                                                                                                                             ’0
           Mental Health Documentation                     113-81                      Agency Policy      May 15, 2018




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     A       Mental Health Referral Triage Process             113-82                   Agency Policy    Feb 09, 2018         /]

     ww      Transition for Offenders with Mental Illness      113-82-1                 Agency Policy    May 15, 2018         /]

     ig      Transition for Offenders with Mental lliness      113-82-1 PCN 20-20       Agency Policy    Jul 02, 2020

             Mental Health Evaluation and Mental Health                                            .
     Sie     Treatment  Plan                                   113-83                   Agency Policy    Mar 17, 2020        (/]

             Mental Health Evaluation    and Mental Health                                         .
     he      Treatment  Plan                                   113-83                   Agency Policy    Mar 31, 2016         ]

             Mental Health Evaluation and Mental Health            a                    Agency Policy
                                                               113-83-APS               Supplement       Jun 03, 2018         o
     w       Treatment Plan
             Clinical Assessments, Mental Health Appraisals,                                         .
     PA      and Psychological Testing                         113-84                   Agency Policy    Apr 30, 2018         ©

     pig     Mental Health Levels of Care                      113-87                   Agency Policy    Aug 01, 2018         ]

     pig     Mental Health Seclusion and Suicide Monitoring    113-88                   Agency Policy    Sep 13, 2017         ]

     pid     Mental Health Seclusion and Suicide Monitoring    113-88 PCN 18-26         Agency Policy    May 16, 2018        1]

     pid     Psychotropic Medication/Involuntary Treatment     113-89                   Agency Policy    Aug 15,2019         ]

     pike    DNA Specimen Collection and Documentation         113-92                   Agency Policy    Feb 14, 2020        ]

     ww      DNA Specimen Collection and Documentation         113-92                   Agency Policy    Sep 01,2016         +]

     ae      Detoxification                                    113-93                   Agency Policy    Sep 13,2017         9
             Health Care Personnel and Medical Drug                                                .
     ig      Screening                                         113-94                   Agency Policy    Apr 28, 2017        ]

               -              .                                         }               Agency Policy
     pid     Clinical and Nursing Protocols                    113.11 - APS             Supplement       Aug 31, 2018        &

-—          Chapter 14 Resident Rights - 62 Documents


     w—         14-01 Communication of Information to Inmates-Detainees - 3 Documents                                        A

     pA                                                        14-01                    Policy           Aug 27, 2020        v1]


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           Communication of Information to
           Inmates/Detainees

       Communication
    TESS   n                of Information to Inmates-      14-01                           1-1H         Sep 27, 2016         0

    ve     Communication of Information to Inmates-          14-01-(1-1H)-Trousdale-16649   1-1H         Sep 27,2016          ©
           Residents

    —         14-02 Sexual Abuse Prevention and Response    - 21 Documents

    ww     Sexual Abuse Prevention and Response              14-02                          Policy       Apr 02, 2020         ]

    ww     Sexual Abuse Prevention and Response              14-02                          Policy       Jun 21, 2019         ]

    &      PREA Training Acknowledgment - Pre-Service and    14-02A                         Attachment   Apr 02, 2020
           In-Service

           CoreCivic PREA Training and/or Policy               }
    ww     Acknowledgment                                    14-02A                         Attachment   Jun 21, 2019

           CoreCivic PREA Training Acknowledgment              y                            Attachment   Apr 02, 2020
    ww     Specialized Training                              14-02A1

    Pig    Preventing Sexual Abuse and Misconduct            14-02AA - ENG                  Appendix     Jun 21, 2019

    ww     Preventing Sexual Abuse and Misconduct            14-02AA - SPAN                 Appendix     Jun 21, 2019

    wy     PREA Prevent, Detect, Respond Brochure            14-02AA ENG                    Appendix     Apr 02, 2020

    hid    PREA Prevent, Detect, Respond Brochure            14-02AA SPAN                   Appendix     Apr 02, 2020

    ww     Sexual Abuse Screening Tool                       14-02B                         Attachment   Jun 21, 2019

    ike    Sexual Abuse Incident Check Sheet                 14-02C                         Attachment   Jun 21,2019

    vy     Sexual Abuse Incident Check Sheet                14-02C                          Appendix     Apr 02, 2020

    ie     PREA Retaliation Monitoring Report (30-60-90)    14-02D                          Attachment   Jun 21, 2019

    pid    Inmate Allegation Status Notification            14-02E                          Attachment   Jun 21,2019

    ww     Sexual Abuse or Assault Incident Review Report   14-02F                          Attachment   Apr 02, 2020        n

    pig    Sexual Abuse Incident Review Report              14-02F                          Attachment   Jun 21, 2019




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         Self-Declaration of Sexual Abuse/Sexual                14-02H                         Attachment   Apr 02, 2020
         Harassment

         Self-Declaration of Sexual Abuse-Harassment            14-02H                         Attachment   Jun 21, 2019

         Annual PREA Staffing Plan Assessment                   14-021                         Attachment   Jun 21, 2019

         PREA Zero Tolerance Policy Acknowledgment              14-02)                         Attachment   Apr 02, 2020         @

        PRE    Overdew Training for Contractors and             14-02K                         Ntact.ohan   Apr 02, 2020
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  —         14-03 Inmate-Resident Contact with News Media         - 2 Documents

         Inmate-Resident Contact with News Media                14-03                          1-1H         Sep 27, 2016         [/]

         Inmate-Resident Contact with News Media                14-03-(1-1H)-Trousdale-16648   1-1H         Sep 27,2016         [./]

  we        14-04 Legal Rights of Inmates-Detainees    - 2 Documents

         Legai Rights of Inmates-Residents                      14-04                          Policy       Jan 01, 2016        o
         Legal Rights of Residents                              14-04(01)                      PCN          Jan 01, 2016        ]

  wes       14-05 Inmate-Resident Grievance Procedures        - 1 Document

         Inmate-Resident Grievance Procedures                   14-05                          1-1H         Sep 27,2016

  ~~        14-06 Inmate-Resident Property    - 1 Document

         Inmate-Resident Property                              14-06                           1-1H         Sep 27,2016

   ms      ~A4-07 Inmate-Resident Marriages    - 1 Document

         Inmate-Resident Marriages                             14-07                           1-1H         Sep 27,2016         @

  swe       14-08 Inmate-Detainee Access to Courts and Counsel           - 3 Documents

         Access to Court                                       14-08                           Policy       May 19, 2017        S
         inmate/Detainee Access to Courts and Counsel        ~~ 14-08                          Policy       Apr 22, 2020        ®




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    Ww     Self-Declaration of Sexual Abuse/Sexual               14-02H                         Attachment   Apr 02, 2020
           Harassment

    ike    Self-Declaration of Sexual Abuse-Harassment           14-02H                         Attachment   Jun 21, 2019

    pike   Annual PREA Staffing Plan Assessment                  14-021                         Attachment   Jun 21, 2019

    ig     PREA Zero Tolerance Policy Acknowledgment             14-02)                         Attachment   Apr 02, 2020        +)

    ve     PREA Overview Training for Contractors and            14-02K                         Attachment   Apr 02, 2020


    -         14-03 Inmate-Resident Contact with News Media        - 2 Documents


    ww     Inmate-Resident Contact with News Media               14-03                          1-1H         Sep 27,2016          ]


    vy     Inmate-Resident Contact with News Media               14-03-(1-1H)-Trousdale-16648   1-1H         Sep 27,2016         1]


    -—        14-04 Legal Rights of Inmates-Detainees    - 2 Documents


    id     Legal Rights of Inmates-Residents                     14-04                          Policy       Jan 01, 2016         @

    ww     Legal Rights of Residents                             14-04(01)                      PCN          Jan 01, 2016         ]


    -—        14-05 Inmate-Resident Grievance Procedures      - 1 Document

    PA     Inmate-Resident Grievance Procedures                  14-05                          1-1H         Sep 27, 2016


     —        14-06 Inmate-Resident Property - 1 Document

    hig    Inmate-Resident Property                              14-06                          1-1H         Sep 27, 2016


    -—        14-07 Inmate-Resident Marriages     - 1 Document

    vr     Inmate-Resident Marriages                             14-07                          1-1H         Sep 27, 2016         ah


     -        14-08 Inmate-Detainee Access to Courts and Counsel          - 3 Documents


    pi     Access to Court                                       14-08                          Policy       May 19, 2017        SD

    Tw      inmate/Detainee Access to Courts and Counsel     ~~ 14-08                           Policy       Apr 22,2020          +)




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           Segregation Request for Legal/Religious               }                                  Attachment             May 19, 2017
    ww     Publications                                        14-08B


    -—        14-09 Management of Transgender and Intersex Inmates and Detainees in Prison and Jail Facilities - 2 Documents


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    od                                                                                              Palicy                 Sep 22, 2020         °
    &      Transgender-Intersex Assessment and Treatment       , ; yo,                              Attachment             Sep 22, 2020


    -—        401-03 Organization of the Classificaiton Committee    - 1 Document

    PA     Organization of the Classification Committee        401-03 Exemption                     1-1H                   May 21, 2018         0


    -—        501-01 Inmate Grievance Procedures     - 2 Documents

    pA     Inmate Grievance Procedures                         501-01                               Attachment             Apr 20, 2018

    pA     Inmate Grievance Procedures                         501-01 - Handbook                    Attachment             Apr 20, 2018

    -—        502-04 Rulebook for Inmates - 3 Documents

    ww     Rulebooks for Inmates                               502-04                               PCN                    Apr 07,2017

    pi     Rule Books for Inmates                              502-04 PCN 18-7                      PCN                    Feb 09, 2018

    ie     Rulebooks for Inmates                               502-04-TNCombined-29319              PCN                    Apr 07, 2017         0


    -—        502-06 Prison Rape Elimination Act (PREA) Implementation, Education, and Compliance     - 1 Document


    ve     ER                       Nn                         Partial Policy Exemption             Attachment             Aug 17, 2018

    -—        502-06-3 Medical, Behavioral Health, victim Advocacy, and Community Support Services for PREA Victims   - 1 Document


    IA     Medical oe peli               amaiceasy        3d   Policy Exemption                     Attachment             Aug 17, 2018


    —-—       504-01 Inmate Personal Property - 4 Documents

    Ww     Lost-Damaged-Stolen Personal Property Claim         14-06D                               Attachment             Oct 23, 2015



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    vy     Denied Property Claim Appeal                         14-06E           Attachment          Oct 23, 2015

    PAG    Inmate Personal Property                             14-06F           Attachment          Oct 23, 2015

    pA     Lost-Damaged-Stolen Personal Property Log            14-06G           Attachment          Oct 23, 2015
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    —-—       Agency   - 14 Documents

    ww     Diplomatic Access for Foreign National Inmates       105-03           Agency Policy       Apr 11,2019              (V]

           Prison Rape Elimination Act (PREA)                      }                          3
           Implementation, Education, and Compliance            862106           Agency Policy       AugliGzols               ©

           Prison Rape Elimination Act (PREA)                      .
    w      Implementation, Education, and Compliance            £62:06           Agencyipolicy       Sept. 2028               0

           Prison Rape    Elimination Act   (PREA) Screening,                               .
    w      Classification, and as                           ;   502:06-1         Agency Policy       $8021, 2025              o

           Prison Rape    Elimination Act   (PREA) Screening,                               .
    w      Classification, and rs                           °   502:06-1         Agency Policy       Aug 10, 2018             ©

           Prison Rape Elimination Act (PREA) Allegations,         re                       .
           Investigations, and Sexual Abuse Response            502062           AgencyRalicy        Augilo.z012              @
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           Prison Rape Elimination Act (PREA) Allegations,
    A      Investigations, and Sexual Abuse Response            502-06-2         Agency y Policy     Sep p 21, 2020           o
           Teams (SART)

           Medical, Behavioral Health, victim Advocacy, and                                 .
           Community Support Services for PREA Victims          B0206:2          AgencyPolicy        AUSIIGRaLS               @
    ww

           Medical, Behavioral Health, Victim Advocacy, and                                 .
           Community Support Services for PREA Victims          202062           Agency Policy       Sep 21, 2020             \
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    ww      inmate Councils                                     503-04           Agency Policy       Mar 15, 2018             1]


    ww      Inmate Marriages                                    503-07           Agency Policy       Sep p 20, 2017           ]


            Inmate Personal Property                            504-01           Agency Policy       Jan 31, 2020             ]
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    ir      Inmate Personal Property                            504-01 APS       Supplement


    Ww      Inmate Personal Property Memorandum                 504-01 Memo      Agency Policy       Jan 31, 2020             &




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—          Chapter 15 Resident Rules/Discipline   - 13 Documents


    -—         15-01 Offense and Penalty Code (Adult) - 1 Document

    ik      Offense and Penalty Code (Adult)                     15-01                             1-1H            Sep 26, 2016         @


    Cd         15-02 Disciplinary Procedures (Adult)   - 6 Documents


    i       Disciplinary Procedures (Adult)                      15-02                             Policy          Jun 16, 2020

    vr      Disciplinary Procedures (Adult)                      15-02                             1-1H            Sep 26, 2016

    SY      CoreCivic Inmate-Detainee Disciplinary Report        15-02A                            Attachment      Jun 16, 2020

    PAY     Disciplinary Hearing Log                             15-02B                            Attachment      Jun 16, 2020

    r       Disciplinary Report Investigation Form               15-02C                            Attachment      Jun 16, 2020

    hig     Witness Statement                                    15-02D                            Attachment      Jun 16, 2020


    -—         15J-01 Offense and Penalty Code (Juvenile) - 1 Document

    ig      Offense and Penalty Code (Juvenile)                  154-01                            1-1H            Sep 26, 2016        Vi


    =          15J-02 Disciplinary Procedures (Juvenile)   - 1 Document


    pid     Disciplinary Procedures (Juvenile)                   15-02                             1-1H            Sep 26, 2016        @


    -—         502-02 Disciplinary Punishment Guidelines     - 1 Document

    ike     502-02 PCN 19-5                                      502-02                            PCN             Mar 05, 2019


    -—         Agency   - 3 Documents

    pike    Uniform Disciplinary Procedures                      502-01                            Agency Policy   Jun 01, 2018


    Pie     Disciplinary Punishment Guidelines                   502-02 Disciplinary Runishraent   Agency Policy   Jun 01, 2018        A


    ie      Definitions of Discplinary Offenses                  502-05                            Agency Policy   Mar 01, 2019




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-—         Chapter 16 Communications Mail/Visiting - 15 Documents


     -—        16-01 Correspondence Procedures    - 2 Documents

     i      Correspondence Procedures                        16-01               1-1H                Sep 23, 2016


     PAS    Correspondence / Items / Publications Appeal     16-1H               Attachment          May 08, 2020             0


     -—        16-02 Visitation   - 2 Documents

     ¥¢     Visitation                                       16-02               Policy              May 08, 2020             1

     pA     Visitation                                       16-02                1-1H               May 04, 2017             0


     -—        503-08 Telephone Privileges - 1 Document

     pA     Telephone Privileges                             503-08 PCN 19-3     PCN                 Mar 05, 2019


     —-—       Agency     - 10 Documents

            Telephone Privileges                             503-08              Agency Policy       Jul 03, 2020             ©

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     ve     Telephone Privileges                             503-08              Supplement

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     ike    Telephone Privileges                             503-08 APS          Supplement


     ig     Visitation                                       507-01              Agency Policy       Jul 03, 2020             @


     ww     Visitation                                       507-01              Agency Policy       May 29, 2017             ]


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              I
            Visitation
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     77     Non-Contact Visistation                          507-01-1            Agency Policy       Oct 23, 2017             /]

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     ae     Non-Contact Visitation                           507-01-1A           supplement

     ph     Inmate Mail                                      507-02              Agency Policy       Dec 15, 2017             (]




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     w      Inmate Mail                                        507-02 PCN 20-12                     PCN             Mar 02, 2020         ]

—          Chapter 17 Reception/Orientation   - 13 Documents


     -—        404-05 Orientation Unit - 1 Document

     Pe     Orientation Unit                                   404-05 PCN 17-25                     PCN             Jan 30, 2018         0


     -—        506-14 Housing Assignments     - 2 Documents

     vy     Housing Plan Guidelines                            18-02BB                              Appendix        Sep 06, 2019

     ve     Housing Assignments                                506-14 Housing Assignments           Attachment      Jan 15, 2016

     —         Agency     - 10 Documents


     ww     Receiving and Receipting of Inmates                401-02 Receiving 3ndiRecRinting of   Agency Policy   May 01, 2019         V]


     PA     Orientation Unit                                   404-05                               Agency Policy   Dec 14, 2018         ]


     pie    Inmate Personal Property Accounting System         504-02                               Agency Policy   Jan 05, 2017         V]


     PA     Inmate Personal Property Accounting System         504-02                               Agency Policy   Jan 31, 2020         &


     %      Inmate Personal Property Accounting System         504-02-APS                           ery Foiiy       Jan 01, 2016         /]

     pid    Inmate Clothing                                    504-05                               Agency Policy   Feb 09, 2018        1]


     ww     Identification of Inmates                          506-13                               Agency Policy   Nov 02, 2018        1]


     Pg     Housing Assignments                                506-14                               Agency Policy   Sep 13, 2017         V]


     Yr     Housing Assignments                                506-14 APS                           Sooo            Jan 15, 2016         @

     PAS    Housing and Programming of Youthful Offenders      506-14-2                             Agency Policy   Oct 29, 2015        1]


           Chapter 18 Classifications - 44 Documents                                                                                    A
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               T70-08 Level of Service/Case Management Inventory Training    - 1 Document




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    7      Lee               Case Management Inventory           410 gg TNCombined-29315   PCN        Apr 07, 2017            »

    -—        18-01   Internal Classification Assessment System (ICASa)    - 1 Document


    A      internal Classification Assessment System (ICAS)      18-01                     1-1H       Sep 23,2016


    -—        18-02 Classification and Inmate-Resident Management          - 5 Documents

    pg     Classification and Inmate/Detainee Management         18-02                     Policy     Apr 03, 2020            V]


    ww     Classification and Inmate-Detainee Management         18-02                     1-1H       Nov 08, 2018           oO


    pik    Classification Plan Guidelines                        18-02AA                   Appendix   Apr 03, 2020

    pA     Housing Plan Guidelines                               18-02BB                   Appendix   Apr 03, 2020

    pie    Work and Program Plan Guidelines                      18-02CC                   Appendix   Apr 03, 2020

    —         18J-01 Internal Classification Assessment System (Juvenile) - 1 Document

    ve     aa                    Assessment System (ICAS)        18)-01                    1-1H       Sep 23, 2016           Oo



    -—        401-01 Classification Programs Administration     - 2 Documents

    Ww     Classification Plan Guidelines                        18-02AA                   Appendix   Jul 02, 2015

    vy     Monthly Classification Report Instructions            18-02EE                   Appendix   Jul 02, 2015

    -—        401-08 Classification Hearing Process     - 2 Documents

    Ww     Classification Hearing Process                        401-08 PCN 18-15          PCN        Feb 23, 2018

    ww     Classification Hearing Process                        401-08-TNCombined-29317   PCN        Apr 07,2017


    -—        403-01 Institutional Transfers   - 1 Document
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    pis    Institutional Transfers                               406-01 PCN 18-16          PCN        Feb 23, 2018




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    vy     Sentence Credits                                   505-01   PCN 19-17 Sentence Credits     PCN             Apr 12,2019


    -         513-06 Level of Service-Case Management Inventory Quality Assurance      - 1 Document

           Level of Service-Case Management Inventory             ]           }                                       Nov 02, 2016         @
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    w      Quality Assurance

    —-—       513-09 Risk Needs Assessment (RNA) for Institutions and Transition Centers    - 1 Document


           Risk Needs Assessment (RNA) for Institutions and       : PCN 19-29
                                                              513-09       }                          PCN             Apr 26, 2019
    w      Transition Centers

    -         513-10 Risk/Needs Assesment (RNA) Quality Assurance      - 1 Document

    ve     Risk/Neads Assesment (RNA) Quality Assurance       c,3 16 peN 19-51                        PCN             Aug 15, 2019        Oo


    -—        Agency      - 27 Documents

           Level of Service Case Management Inventory         110-08                                  Agency Policy   Jun 23,2015          ®
    ve
             raining

    pid    Risk Needs Assessment (RNA) Training               110-09                                  Agency Policy   Nov 15, 2018         &

    2      Classification Programs Administration PCN 19-5, 4                                         Agency Policy   Jan 31, 2020         )


    pe     Classification Progams Administration              401-01                                  Agency Policy   Apr 20, 2018         V]

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    pd     Classification Programs Administration             401-01-APS


    7       Organization of the Classification Committee      401-03                                  Agency Policy   Jan 31, 2020         ®
            PCN 19-61

    pA      Organization of the Classification Committee      401-03                                  Agency Policy   Feb 09, 2018         @

            Initial Diagnostic, Classification, and               }                                              .
    w       Reclassification Process                          401-04                                  Agency Policy   Jun 30, 2017        R

    TY                                                        401-04                                  Agency Policy   Jan 31,2020          /]




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           Initial Diagnostic, Classification, and
           Reclassification Process PCN 19-62

           Custody Overrides                                  401-06 Custody Overrides   Agency Policy   Apr 26, 2019




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           Classification Hearing Process                     401-08                     Agency Policy   Jan 05, 2017


           Classification Hearing Process                     401-08                     Agency Policy   Sep 22, 2020

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           Institutional Transfers                            403-01                     Agency Policy

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           403.01 Institutional Transfers                     403.01

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           Minimum Custody Placement

           Notification to Committing Jurisdiction            404-07-1                   Agency Policy   May 10, 2019
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           Sentence Credits                                   505-01                     Agency Policy   Mar 15, 2018
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           Work Release Job Placement                         505-10                     Agency Policy   Nov 30, 2018


           Sentence Credits                                   505.01                     Agency Policy   Jan 31, 2020
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           Custody and Security Levels                        506-01                     Agency Policy   Jan 19, 2018

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           Custody and Security Levels                                                   Supplement
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           Transitional Assessment Plan (TAP)                 513-04
   ED




           Traditional Assessment Plan - Behavioral           513-04-1                   Agency Policy   Jun 23, 2015




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           Intervention Goals

           Level of Service-Case Management Inventory                                    Agency Policy   Jun 23, 2015
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    pes




           Quality Assurance

    ve     Risk Needs Assessment (RNA) for Institutions and   513-09                     Agency Policy   Nov 15, 2018




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           Transition Centers

    pe     Risk Needs Assessment (RNA) for Institutions and   513-09                     Agency Policy   Mar 17, 2020
           Transition Centers




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    ww      Risk Needs Assessment (RNA) Quality Assurance     513-10                     Agency Policy   Nov 15, 2018




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           Chapter 19 Resident Work Programs          - 7 Documents


     -—        504-04 Inmate Pay - 2 Documents

     ww     Inmate Pay                                                504-04 PCN 17-56   PCN             Jan 30, 2018         io

     Ad     Inmate pay                                                504-04 PCN 17-88   PCN             Jan 30, 2018         0

     -—        Agency    - 5 Documents

     ie     Motor Vehicle Operation by Inmates                        503-11             Agency Policy   Feb 15, 2019         ]


     ve     Inmate Pay                                                504-04             Agency Policy   Mar 01, 2019         ]

            Inmate Programming (Jobs/Classess/Treatment)              505-07             Agency Policy   Jun 23, 2015         /]
     PA


     pA     Inmate Programming (Jobs/Classes/Treatment)           ~~ 505-07-APS          ea              Jan 01, 2016         1]


     PA     Community Service Work Projects                           505-08             Agency Policy   Mar 15, 2018         ]


-—         Chapter 20 Resident Services-Programs         - 63 Documents


     -         117-02 Academic Programs       - 1 Document

     vy     Academic Programs                                         117-02 PCN 15-9    PCN             Jun 23, 2015


     -—        117-05 Title One Programs     - 1 Document

     pie    Title One Programs                                        PCN 18-35          PCN             Jun 29, 2018

     -—        117-07 Special Education Programs         - 1 Document


     pe     Special Education Programs                                PCN 18-34          PCN             Jun 29, 2018

     -—        118-01 Religious Programs      - 1 Document

     w      Religious Property List                                   118-01MEMO         Attachment      Apr 28, 2017        ~

               Z0-0T    Facility Education Programs     - T0 Documents




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    ik     Facility Education Programs                         20-01                   Policy        Jan 01, 2016

    Sik    Comprehensive    Education Plan                     20-01A                  Attachment    Jan 01, 2016


    PA     Completion Certificate                              20-01AA                 Appendix      Jan 01,2016

    pid    Education Program Statement of Refusal              20-01C                  Attachment    Jan 01, 2016

    pi     Inmate/Resident Population Education Appraisal      20-01F                  Attachment    Jan 01, 2016

    Ad     Education Program Observation/Assessment            20-01G                  Attachment    Jan 01, 2016

    Ad     Annual Education Program Review                     20-01H                  Attachment    Jan 01, 2016


           en                  Monthly Repotiisystm            20-011                  Attachment    Jan 01, 2016

    vr     Education Program Revision Request                  20-01)                  Attachment    Jan 01, 2016

    i      Education Candidate Approval Request                20-01K                  Attachment    Jan 01, 2016


    —         20-02 Facility Prison Industry Enhancement Program        - 1 Document


    w      Facility Prison Industry Enhancement Program        20-02                   1-1H          Sep 23, 2016             0


     —        20-03 Substance Use Disorder Treatment      - 1 Document

                                                               20-03                   1-1H          Sep 23,2016              [1]
    big    Substance Use Disorder Treatment

    -—        20-04 Chaplaincy and Religious Services - 2 Documents

                                                               20-04                   Policy        Apr 13, 2020             ]
    pid     Chaplaincy and Religious Services

            Chaplaincy and Religious Services                  20-04                   1-1H          Sep 23, 2016             /]
    ww

     —        20-06 Reentry Programs     - 5 Documents


    pd      Reentry Programs                                   20-06                   Policy        Aug 14, 2019            9

    pe      Reentry Program Services Request                   20-06A                  Attachment    Aug 14, 2019




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    w      Reentry Program Revision Request                          20-06B            Attachment   Aug 14, 2019

    pid    Go Further Program Agreement                              20-06C            Attachment   Aug 14, 2019             ©


    pie    Reentry Program Statement of Refusal                      20-06D            Attachment   Aug 14, 2019            [|]


    -—        20-07 Program Certificate Issuance       - 5 Documents

    ve     Program Certificate Issuance                              20-07             Policy        Dec 16, 2016

    ww     Certificate of Completion                                 20-07AA           Appendix      Dec 16, 2016

    vr     Certificate of Participation                              20-07BB           Appendix      Dec 16, 2016

    TY     Certificate of Participation (Half-Size)                  20-07CC           Appendix      Dec 16, 2016

    pig    LPP Certificates                                          20-07DD           Appendix      Dec 16, 2016

    -—        20-08 Impact of Crime on Victims Program        - 2 Documents

    wy     Impact of Crime on Victims Program                        20-08             Policy        Oct 16, 2017

    pd     Impact of Crime on Victims Monthly Report                 20-08A            Attachment    Oct 16, 2017

    -—        20-100A Purchase of Inmate Goods - 1 Document

    Tr     Purchase of Inmate Goods                                  20-100A           Policy       Jan 01, 2016            oO


    -—        20-108 Recreation and Inmate Leisure        - 1 Document

    pike   Recreation and Inmate Leisure                             20-108            Policy       Jan 01, 2016


    -         20-109 Library Operations      - 1 Document

    vy      Library Operations                                       20-109            Policy       Jan 01, 2016


    -—        510-01 Recreation Programs       - 1 Document

    pd      Recreation Programs                                      510-01 PCN 19-4   PCN           Mar 05, 2019           A


    —-—       513-12 Evidence Based Programs          - 1 Document




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    ww     Evidence Based Programs                          513-12 PCN 17-4              PCN             Jan 30, 2018


    -—        Agency        - 28 Documents

           Administrative Guidelines for Educational                                                .
    7%     Programming                                      117-01                       Agency Policy   Jun 07, 2018         /]

    ww     Academic Programs                                117-02                       Agency Policy   Jun 23,2015         1]


    Tr     Career and Technical Education                   117-03                       Agency Policy   Jun 14, 2019         1]


    PA     Title One Programs                               117-05                       Agency Policy   Mar 01, 2017        (]


    vy     Special Education Programs                       117-07                       Agency Policy   Aug 15, 2017         ]


    wy      Title One Programs                              117.05                       Agency Policy   Mar 01, 2020         ]

    PA     Religious Programs                               118-01                       Agency Policy   Jun 23,2015          @

              I                                                 y                        Agency Policy
                                                                                         Sesplement      Aug 28, 2019         /]
    ww     Religious Programs                               118-01 APS

    id     118.01 Religious Property Memo                   118.01                       Attachment      Jan 29, 2020        (]


    pd     Social Service Programs                          508-01                       Agency Policy   Jul 14, 2019         @

                .      "                                        a                        Agency Policy   Apr 26, 2019        1]
    ww     Social Service Programs                          508-01 - APS                 Supplement


    Pi     Counseling Services                              508-04                       Agency Policy   Mar 24, 2017        [/]

                        .        :                              ;                        Agency Policy   Oct 13, 2017         /]
    he     Counseling Services                              508-04A                      Stoplement

                    .                                           ]                        Agency Policy   Oct 27, 2017        (/]
    Pie    Recreation Programs                              510-01    APS                Supplement


    ww     Recreation Programs                              510-01 Recreation Programs   Agency Policy   Oct 01, 2017         /]

           Arts & Crafts Program & the Purchase of Arts &      y                         Agency Policy
    w      Crafts Items/Vocational Services                 Siac                         Supplement      Bu 24.2012          2

    A                                                       510-02A                                      Oct 27,2017          ]



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            Arts & Crafts Program & the Purchase of Arts &                                          Agency Policy
            Crafts items/Vocational Services                                                        Supplement

     ww     Sex Offender Registry - Prisons                       512-02                            Agency Policy    Feb 09, 2018         ]


     vr     Inmate Monitoring                                     513-05                            Agency Policy    Mar 24, 2017         LV]

            513-07 Administration of Addiction Treatment                                                         .                        9
     PA     and Recovery Services                                 513-07                            Agency Policy    Apr 26,2019


            Substance Use Disorder Programming and                     SR
                                                                  BIS /RS
                                                                                                    Agency Policy
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     Y      Services Delivery
     pA     Substance Use: Outpatient Treatment Programs          513-07 PCN 20-19                  Agency Policy    Jul 02, 2020         /]


     PA     Substance Use High Intensity Residential Services     513-07-1                          Agency Policy    Apr 26,2019         1]


     pid    Substance Use High Intensity Residential Services     513-07-1 PCN 20-18                Agency Policy    Jul 02, 2020         1]


     pie    Substance Use OutPatient Treatment Programs         ~~ 513-07-2                         Agency Policy    Apr 26, 2019         /]

            513-07-3 Substance Use Recovery Support               513-07-3 Substance Use Recovery              :
     A      Services                                              Support Services                  Agency Policy    Apn2e 20s            ©

     pig    Evidence Based Programs                               513-12                            Agency Policy    Feb 01, 2017         /]


     ww     Young Adult Offender Programming                      513-14                            Agency Policy    Jun 15, 2019         ]


 -         Chapter 21 Release Preparations-Temporary Release        - 20 Documents


     -         103-03 Open Parole Hearings     - 1 Document

                                )                                 103-03 PCN   19-27 Open Parole                     Apr 26, 2019         [|]
     ae     Open Parole Hearings                                  Hearings                          PCN

     -—        21-100 Identification for Post Release   - 1 Document

     Pi     Identification for Post Release                       21-100                            Policy           Aug 30, 2010         @

                                                                                                                                         A
     -—        21-101 Volunteers and Citizen Involvement - 1 Document

     Ww     Volunteers and Citizen Involvement                    21-101                            Policy           Jan 01, 2016         0




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              511-01 Furloughs    - 2 Documents

    w      Furloughs                                         511-01 PCN 18-20    PCN                 Feb 23,2018


    pg     Furloughs                                         511-01 PCN 19-35    PCN                 May 01, 2019


    -—        Agency   - 15 Documents

    A      Open Parole Hearings                              103-03              Agency Policy       Mar 15, 2018             So

    &      gt                     for Success and Release for, 4                 Agency Policy       Jun 23, 2015             ®


    pi     Furloughs                                         511-01              Agency Policy       Dec 14, 2018            1]


    PA     Medical Furioughs                                 511-01-1            Agency Policy       Aug 15, 2019             ]


    hi     Release Procedures                                511-03              Agency Policy       Oct 23, 2017            1]


    Ad     Release Procedures                                511-03 PCN 19-30    Agency Policy       Apr 26, 2019            1]


    Ad     Coordination/Cooperation with Board of Parole     511-04              Agency Policy       Feb 14, 2020             1)

    Ty     Coordination/Cooperation with Board of Parole     511-04              Agency Policy       Apr 28, 2017             ]


    Te     ak                            License and State   gq.                 Agency Policy       Apr 11,2019              ]

    nesses Offender rivers License snd tate 51.05. aps                           parol               spas oie                 ©
    oe     Reentry Services and Assistance to Former         511-06              Agency Policy       Dec 21, 2018



    ik      interstate Corrections Compact                   511-07              Agency Policy       May 01, 2019             ]

    ye      Repinemen: S sai Security Number Cards and       14 4g               Agency Policy       Oct 03, 2016             ®


    &       Replacement Social Security Cards and Birth      511-08              Agency Policy       Mar 27, 2020            yo


    PAS     513-11 Offender Case Plan (OCP)                  513-11              Agency Policy       Aug 15, 2019




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 —           Chapter 22 Citizen Involvement-Volunteers    - 10 Documents


      -—         22-01 Volunteer Services and Management        - 5 Documents

      id      Volunteer Services Management                        22-01           1-1H                Jan 11, 2017           ]

      w       Volunteers Training Matrix                           22-01AA         Appendix            Apr 17, 2020

      Pike    Volunteer Agreement                                  22-01B          Attachment          Apr 17,2020

      ww      Volunteer Code of Ethics                             22-01C          Attachment          Apr 17,2020

      hig     Quarterly Volunteer Report                           22-01E          Attachment          Apr 17,2020


      —          22-100 Volunteers and Citizen Involvement      - 2 Documents

      id      Volunteers and Citizen Involvement                   22-100          Policy              Jan 01, 2016

      TY      Volunteer Agreement                                  22-100A         Attachment          Jan 01, 2016

      -—         Agency    - 3 Documents

              Standards for    Volunteers and Coordination of      115-01          Agency Policy       Feb 01, 2018
      hid     Community   Involvement

              Standards for Volunteers and Coordination of                   3     Agency Policy
      w       Community Involvement                                EE              Supplement          juli2z, 2012

              Standards for Volunteers and Coordination of                         Agency Attachment   Feb 01, 2018
      ike     Community Involvement                                115-01 Manual


 -—          Post Orders   - 66 Documents

      -—         General Order     -1 Document

       he     General Order                                        COR-PO-00       General Order       Jun 08, 2018           &

                                                                                                                             A
      -—         Post Orders1     - 47 Documents

      pe      Front Entrance                                       CCAPO-15        Post Order          Jan 01, 2016           /]



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             General Order                                  CCA-PO-00            General Order       Oct 21, 2016


    x                                                       CCA-PO-01
             Shift Supervisor                                                    Post Order         Jan 01, 2016
    ¢
             Assistant Shift Supervisor                     CCA-PO-02            Post Order          Oct 21, 2016
    4


             Senior Correctional Officer - Transportation   CCA-PO-09            Post Order         Jan 01, 2016

                                                            CCA-PO-11
    «ES A




             Central Control                                                     Post Order          Oct 21, 2016

             Housing Unit Officer                           CCA-PO-16(01)        PCN                Jan 01, 2016

                                                            CCA-PO-19                               Jan 01,2016
    CE




             Off-Site Hospital                                                   Post Order

             Off-Site Hospital                              CCA-PO-19(01)        PCN                Jan 01, 2016
    <<




             Off-Site Hospital Officer                      CCA-PO-19(02)        PCN                Jan 01, 2016

             Off-Site Hospital                              CCA-PO-19(03)        PCN                Jan 01, 2016
    «SS




             Perimeter Patrol                               CCA-PO-20(01)        PCN                Jan 01,2016

                                                            CCA-PO-21            Post Order         Jan 01, 2016
    SE




             Housing Control Room

             Recreation                                     CCA-PO-22            Post Order         Jan 01, 2016

                                                            CCA-PO-23                               Jan 01,2016
    SD




             Segregation                                                         Post Order

             Segregation                                    CCA-PO-23(01)        PCN                Jan 01, 2016

                                                            CCA-PO-26
    «SS




             Vehicle Gate                                                        Post Order         Jan 01, 2016

             Vehicle Gate                                   CCA-PO-26(01)        PCN                Jan 01, 2016
    SE «SE




             Vehicle Gate                                   CCA-PO-26(02)        PCN                 Oct 30, 2015

             Restricted Housing Unit                        CCA-PO-30            Post Order         Jan 01, 2016

             Restrictive Housing Unit                       CCA-PO-30(01)        PCN                Jan 01, 2016
    tS




             Canine Handler                                 COR-PO-05(01)        PCN                Apr 13,2018


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                        Education Officer                       COR-PO-13           Post Order          Jul 13,2018
                                                                                                        Apr 13,2018
   SN                   Food Service                            COR-PO-14           Post Order

                        Perimeter Patrol                        COR-PO-20           Post Order          Jun 30, 2017

                        Recreation                              COR-PO-22           Post Order          Jun 30, 2017
   §




                        Vehicle Gate                            COR-P0O-26(03)      PCN                 Jun 09, 2017

                                                                                    General Emergency
                        General Emergency Information           Core Civic GEI 01                       Aug 31, 2018
                                                                                    Information

                        Laundry                                 Core Civic-PO-17    Post Order          Sep 28, 2018
   4 SD «




                        Suicide Precautions-Close Observation   Core Civic-PO-29    Post Order          Aug 31,2018

                        Count Room Officer                      PO 119              Post Order          Dec 21, 2018

                        Visitation Officer                      TTCC-PO-101         Post Order          Jan 01, 2016
    SD cE ¢ SD SE «SS




                        SCO- Disciplinary Hearing Officer       TTCC-PO-102         Post Order          Jan 01, 2016


                        Property Officers                       TTCC-PO-104         Post Order          Jan 01, 2016

                        Security Threat Group                   TTCC-PO-106         Post Order          Aug 31, 2018


                        SCO- Inmate Relations                   TTCC-PO-107         Post Order          Jan 01, 2016

                        SCO- Property                           TTCC-PO-108         Post Order          Jan 01,2016

                        SCO- Grievance                          TTCC-PO-109         Post Order          Jan 01, 2016

                        SCO- Armory                             TTCC-PO-110         Post Order          Jan 01, 2016
    SE




                        SCO- Tool and Key Control               TTCC-PO-111         Post Order          Jan 01,2016
    tS




                        Utility Officer                         TTCC-PO-112         Post Order          Sep 10, 2015

                                                                TTCC-PO-113         Post Order          Jan 01, 2016
    eR




                        Correctional Officer- Medical




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    pad    SCO- Segregation                                     TTCC-PO-114       Post Order              Jan 01, 2016


    ww     SCO - Housing Zone                                   TTCC-PO-115       Post Order              Jan 01, 2016


    ig     SCO- Visitation                                      TTCC-PO-116       Post Order              Jun 09, 2017


    PA     Grievance Chairperson                                TTCC-PO-117       Post Order              Aug 31,2018


    ww     Drug Testing Officer                                 TTCC-PO-118       Post Order              Aug 31, 2018


    -         Procedural Guidelines - 18 Documents

           Lock Checks                                          CCA-PG-01         Procedural Guidelines   Jan 01, 2016         ©
    hid

    A      SAMPLE Lock Inspection Log                           CCA-PG-01 Att 1   Attachment              Jan 01, 2016

    ike    Lock Photos                                          CCA-PG-01 Att 2   Attachment              Jan 01, 2016

    pid    PG - Laundry Operations                              CCA-PG-02         Procedural Guidelines   Jan 01, 2016         1]


    ig     Procedural Guidelines - Searches                     CCA-PG-03         Procedural Guidelines   Jan 01,2016          [/]


    ¥¢       PG-Searches                                        CCA-PG-03(01)     PCN                     Jan 01,2016          ]

            PG - Searches                                       CCA-PG-03(02)     PCN                     Oct 30, 2015         1]
    ww

    pd      PG - Roof Checks                                    CCA-PG-05         Procedural Guidelines   Oct 16, 2017         /]

           mepors, Force and Emergencies During                 CCA-PG-06(01)     PCN                     Jun 30, 2017         ]
    oe


     %r      PG-Count                                           CCA-PG-07         Procedural Guidelines   Oct 21, 2016         ]
     id     Lock Photos                                         COR-PG-01 Att 2   Attachment              Oct 16, 2017


    Tv      Femone! Force ondiBierzendesDiing                   COR-PG-06         Procedural Guidelines Jan 13, 2020           ]

     %       PG-Count                                           COR-PG-07         payee Guidelines        019, 2020
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            Sallyport and Entrance Electronic Gate Inspection   COR-PG-102        Procedural Guideline    Jan 13, 2020         ]




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    Ww     Allowable Items - Entry                        PG - Allowable Items - Entry       Procedural Guidelines   Jan 01, 2016


    Ind    PG - Decontamination                           PG - Decontamination               Procedural Guidelines   Jul 17, 2015

           Attachment A Use of Force and Emergency                                           Attachment              Jan 13, 2020
    =      During Transport                               336

    7      PG - Tier Management                           TDOC-PG-100                        Procedural Guidelines   Jun 30, 2017




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                                                                                            CoreCivic Orientation
                                                                                            CoreCivic Orientation and
                                                                                                                  and Custody
                                                                                                                       Custody Schedule
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      12:45                    CORE000005
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